   1 MORAN LAW GROUP, INC.
     CATHLEEN COOPER MORAN, I.D. #83758
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   3 Mountain View, CA 94043-1375
     Tel.: (650) 694-4700
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     E-mail: Cathy@moranlaw.net
   5
     Attorney for Debtor
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   8                      UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA, DIVISION 4
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  10
  11 In Re:                             )                Chapter 13
                                        )
  12   ROSEMARY GREENE,                 )                Bankruptcy No. 17-41704
                                        )
  13                                    )                Date: June 8, 2018
                                        )                Time: 11:00 a.m.
  14                                    )                Place: 1300 Clay Street
                                        )                       Courtroom 215
  15                                    )                       Oakland, CA
                        Debtor.         )
  16   ________________________________ )                HON. CHARLES NOVACK
  17             POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                         WITHDRAW AS COUNSEL OF RECORD
  18
  19          The provisions of the California Rules of Professional Conduct, Rule 3-700,
  20 subdivision (C)(4) requires the withdrawal of counsel when the attorney’s mental or
  21 physical condition renders it difficult for the member to carry out the employment
  22 effectively.
  23          As stated in the Declaration of Cathleen Cooper Moran due to Ms. Moran’s recent
  24 health diagnosis and the complex and highly disputed nature of this case she is unable to
  25 continue to effectively represent Ms. Greene.
  26          California Rules of Professional Conduct 3-700(C)(4) provides that an attorney
  27 may request permission of the Court to withdraw as counsel of record if the member’s
  28          (4) mental or physical condition renders it difficult for the member to carry out t the
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   1 employment effectively.
   2         If a reason is given, an attorney should normally be permitted to withdraw unless
   3 prejudice to any party would result. Ramirez v. Sturdevant, (1994) 21 Cal. App 4th 904.
   4         At the time of this writing, Moran Law Group, Inc had yet to receive a signed
   5 substitution of attorney nor word that the Debtor has retained new counsel to take over this
   6 case.
   7         Accordingly, Moran Law Group should be permitted to withdraw as counsel of
   8 record.
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  10                                    MORAN LAW GROUP
  11
            05/08/2018
  12 Date: ________________              /s/ Renée C. Mendoza
                                        _______________________________________
                                        RENÈE C. MENDOZA
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